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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 In re:                        :     Civil Action No. 04-2123(JAG)
                                         (Consolidated Cases)
 GENTA, Inc.                   :      Hon. Joseph A. Greenaway, Jr.
 SECURITIES LITIGATION
                               :               O R D E R


       Motions in several related class actions having come before

 the Court for the disposition of several early motions; and the

 Court having read and considered all papers and having heard and

 considered oral argument on August 2, 2004; and good cause

 appearing,

       IT IS on this 2nd day of August, 2004, ORDERED:

       (1.) The following actions are consolidated for all

 purposes under Civil Action No. 04-2123:

 ---------------------------------- :

 EARL MAITLAND, Individually and          :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2123 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:
 HENRY FURINO, Individually and           :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2132 (JAG)
             Plaintiff,
 vs.                                      :
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 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 JAY WASSERMAN, Individually and          :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2133 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 RICHARD M. YARBRO, Individually and:
 on Behalf of All Those Similarly
 Situated,                          :
                                                  Civil Action No:
                                          :       04-2160 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 SARAH SONTAG, Individually and           :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2162 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 FRED DEN, Individually and               :
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 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2201 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 RICHARD JACOBS, Individually and         :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2231 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 BERNARD SAGGAU, Individually and         :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2232(JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 BONNIE ROST, Individually and            :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2245 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.                  :
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 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 ABRAHAM MEISNER, Individually and        :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2246 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 MILTON PFEIFFER, Individually and        :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2314 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 ANGELICA L. FURLA, Individually and:
 on Behalf of All Those Similarly
 Situated,                          :
                                                  Civil Action No:
                                          :       04-2392 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 JOHN F. ELLIOT, Individually and         :
 on Behalf of All Those Similarly
 Situated,                                :
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                                                  Civil Action No:
                                          :       04-2466 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 BARRY GERARD, Individually and           :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2471 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 JOHN F. ELLIOT, Individually and         :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2498 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 DAVID GREENBERG, Individually and        :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2576 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
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           Defendants.
 -----------------------------------:

 CASEY M. McGUANE, Individually and :
 on Behalf of All Those Similarly
 Situated,                          :
                                                  Civil Action No:
                                          :       04-2581 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 HAROLD FULLEN, Individually and          :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2664 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 CORY HECHLER, Individually and           :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2665 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 WILLIAM T. DEANE, Individually and :
 on Behalf of All Those Similarly
 Situated,                          :
                                                  Civil Action No:
                                          :       04-2876(JAG)
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             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 ARTHUR SIEGAL, Individually and          :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2908 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

 JOHN T. JACOBUS, Individually and        :
 on Behalf of All Those Similarly
 Situated,                                :
                                                  Civil Action No:
                                          :       04-2936 (JAG)
             Plaintiff,
 vs.                                      :

 GENTA, INC., RAYMOND P.            :
 WARRELL, JR., and LORETTA M. ITRI,
                                    :
           Defendants.
 -----------------------------------:

       (2.) Any action hereafter filed in the Court or transferred

 to this Court arising out of the same facts and asserting the

 same or substantially similar claims as alleged in these

 consolidated cases shall also be consolidated under that docket

 number. All papers submitted herein shall hereafter bear the

 caption “IN RE GENTA, INC. SECURITIES LITIGATION” under the

 above-mentioned docket number.
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       (3.) The terms of this Order shall not have the effect of

 making any person, firm or corporation a party to any action in

 which he, she, or it has not been named, served or added in

 accordance with the Federal Rules of Civil Procedure.

       (4.) When a case which relates to the subject matter

 of this Consolidated Action is hereafter filed in this Court or

 transferred here from another court, the Clerk of this Court

 shall:

             (a) Mail a copy of this Order to the attorney(s) for
             the plaintiff(s) in the newly filed or transferred
             case and to the attorneys for any new
             defendant(s)in the newly filed or transferred
             case; and
             (b) Mail a copy of the Order of Assignment to counsel
             for plaintiffs and to counsel for defendants in
             the Consolidated Action.


       (5.) This Court directs counsel to call to the attention of

 the Clerk of this Court the filing or transfer of any case which

 might properly be consolidated with these actions.

       (6.) This Order shall apply to each case subsequently filed

 in this Court or transferred to this Court unless a party

 objecting to the consolidation of such case or to any other

 provision of this Order shall, within fifteen (15) days after the

 date upon which a copy of this Order is mailed to counsel for

 such party, file an application for relief from this Order or any

 provision herein and this Court deems it appropriate to grant

 such application.

       (7.) All references to filing of documents with the Court
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 or its Clerk shall include electronic filing where feasible and

 appropriate.

        (8.) The Court hereby designates the following plaintiffs

 to act as lead plaintiffs in this action: Bal Harbor Financial

 LLC, William Nasser, Jr., David Smith, Brian R. Nickerson, and

 Ralph LeMar.

        (9.) The Court designates the following firm to act as lead

 counsel on behalf of plaintiffs with the responsibilities

 described later in this Order: Milberg Weiss Bershad & Schulman

 LLP.

        (10.) Subject to this Court’s exercise of discretion to

 review any disputed material decision, lead counsel shall have

 sole authority over the following matters on behalf of all

 plaintiffs in their respective cases: (a) the establishment of

 working committees for the efficient prosecution of the

 litigation and the appointment of chairpersons and members of

 such committees; (b) the initiation, response, scheduling,

 briefing and argument of all motions; (c) the scope, order and

 conduct of all discovery proceedings; (d) such work assignments

 to other plaintiffs’ counsel as they may deem appropriate; (e)

 the retention of experts; (f) designation of which attorneys may

 appear at hearings and conferences with the Court; (g) the timing

 and substance of any settlement negotiations with defendants; and

 (h) other matters concerning the prosecution or resolution of

 their respective cases.
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       (11.) No motion shall be initiated or filed on behalf of

  any plaintiff except through lead counsel in these cases. Any

  discovery dispute shall be brought to the attention of Magistrate

  Judge Haneke by letter with five business days to respond. There

  are to be no formal discovery motions filed without prior

  permission of the Court.

       (12.) Subject to this Court’s exercise of discretion to

  review any disputed material decision, lead counsel shall have

  sole authority to communicate with defendants’ counsel and the

  Court on behalf of all plaintiffs in their respective cases,

  unless that authority is expressly delegated to other counsel.

  Defendants’ counsel may rely on all agreements made with lead or

  designated counsel, and such agreement shall be binding on all

  other plaintiffs’ counsel in their respective cases.

       (13.) The Court appoints as liaison counsel: Shalov Stone &

  Bonner LLP.

       (14.) Defendants shall effect service of papers on

  plaintiffs by serving a copy of the papers electronically, by

  overnight mail service, telecopy or hand delivery on: (a)

  liaison counsel, once appointed, and (b) lead counsel. At

  present, lead counsel shall effect service on all other

  plaintiffs’ counsel either electronically or by first class

  United States mail; however, liaison counsel (once appointed)

  shall assume these duties. Plaintiffs shall effect service of

  papers on defendants by serving a copy of the paper by overnight
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  mail service, telecopy or hand delivery on counsel for

  defendants. This Court’s Master Service List shall govern in all

  proceedings.

       (15.) The Court directs all counsel in this Consolidated

  Action to make every effort to avoid duplication, inefficiency

  and inconvenience to the Court, the parties, counsel and

  witnesses. However, nothing in this Order is intended to

  diminish the right of any counsel to be heard on matters that are

  not appropriate for joint or common action or as to which there

  is a genuine and substantial disagreement among counsel.

       (16.) Each attorney not a member of the Bar of this Court,

  who is acting as counsel for a plaintiff or defendant herein and

  who is in good standing in any district court of the United

  States, shall be deemed admitted pro hac vice to practice before

  this Court in connection with this Consolidated Action.

       (17.) The Court recognizes that cooperation by and among

  counsel is essential for the orderly and expeditious resolution

  of this litigation. Accordingly, the communication of

  information among and between plaintiffs’ counsel and among or

  between defendants’ counsel shall not be deemed a waiver of the

  attorney-client privilege or the attorney work product privilege.

       (18.) Plaintiffs, under the direction of lead counsel, shall

  file and serve their Consolidated Amended Class Action Complaint

  as to all claims brought by all plaintiffs within thirty (30)

  days of the date of this Order. Defendants shall          answer, move or
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  otherwise plead within thirty (30) days after service of the

  Consolidated Amended Complaint. No dispositive motion shall be

  filed without prior permission of the Court, unless a schedule

  for filing, briefing and arguing any such motion shall be set

  forth in one or more Case Management Orders herein.

       (19.) The undersigned U.S. Magistrate Judge will shortly

  schedule a date for a conference to generate an initial Case

  Management Order.




                                     S/ G. Donald Haneke
                                     United States Magistrate Judge
